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 Attorneys for Plaintiffs


                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  In re HORIZON HEALTHCARE                  Civil Action No: 2:13-cv-07418-CCC-
  SERVICES INC. DATA BREACH                 JSA
  LITIGATION
                                            NOTICE OF WITHDRAWAL OF
                                            ATTORNEY


       PLEASE TAKE NOTICE THAT David A. Straite hereby withdraws as

  counsel of record in this matter as he is no longer with the firm of Kaplan Fox &

  Kilsheimer LLP (“Kaplan Fox”).

       Plaintiffs shall continue to be represented by Court-appointed Co-Lead

  Counsel Laurence D. King of Kaplan Fox as well as the other Co-Lead Counsel

  appointed by the Court.

  DATED: May 25, 2021                 KAPLAN FOX & KILSHEIMER LLP

                                      By: /s/ William J. Pinilis
                                             William J. Pinilis

                                      Attorneys for Plaintiffs
